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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 15-cv-02362-RBJ

DANA ALIX ZZYYM,

       Plaintiff,

v.

ANTONY J. BLINKEN, in his official capacity as Secretary of State; 1 and,
RACHEL B. CRAWFORD, in her official capacity as Director of the Colorado Passport Agency
of the U.S. Department of State,2

       Defendants.


            STIPULATION OF VOLUNTARY DISMISSAL UNDER FRCP 41(a)


      All parties stipulate to a dismissal of this action under Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, conditioned upon the Court entering an Order retaining jurisdiction over

Plaintiff’s claims for attorney fees and costs related to the above-captioned case.


       RESPECTFULLY SUBMITTED this 2nd day of November, 2021.




1
 Antony J. Blinken became Secretary of State on January 26, 2021 and is automatically substituted
as defendant for John F. Kerry under Federal Rule of Civil Procedure 25(d).
2
  Rachel B. Crawford became Director of the Colorado Passport Agency in September 2019 and
is automatically substituted as defendant for Sherman D. Portell under Federal Rule of Civil
Procedure 25(d).
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